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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

In re:                                   )
                                         )
MYERS, JESSICA LOUISE                    )       CHAPTER 7
XXX-XX-8820                              )       CASE NO. 18-16852-JGR
                                         )
 Debtor.                                 )
________________________________________ )
                                         )
Robertson B. Cohen, Chapter 7 Trustee    )
                                         )
        Plaintiff,                       )
vs.                                      )
                                         )
UCHealth – Memorial Health Systems       )
                                         ) ADV. CASE NO. __________-JGR
                                         )
        Defendant                        )


                       COMPLAINT TO RECOVER PREFERENCE


        Robertson B. Cohen, Chapter 7 Trustee (“Trustee”) respectfully submits his COMPLAINT
against UCHealth – Memorial Health Systems (“UCH-MHS”) and states as follows:

                                        JURISDICTION

         1.   This Court has core jurisdiction over this action pursuant to 11 U.S.C. §105, 11
              U.S.C. §547(b) and 11 U.S.C. §550(a)(1), Federal Rule of Bankruptcy Procedure
              7001, 28 U.S.C. §157(b)(2)(F), 28 U.S.C. §157(b)(2)(h), 28 U.S.C. §1334 and
              General Procedure Order 1984-1 issued by the United States District Court of the
              District of Colorado.

         2.   Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

         3.   Plaintiff does consent to entry of final orders or judgment by the bankruptcy court.

                                            PARTIES

         4.   Robertson B. Cohen is the Chapter 7 Trustee for the Debtor bankruptcy estate and
              conducts business in the state of Colorado.
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     5.       Defendant is a nonprofit corporation. Defendant’s principal office is located at 1400
              E Boulder Street, Colorado Springs, CO 80909 and its registered agent Lindsey
              Rogers-Seitz, 1400 E Boulder Street, Colorado Springs, CO 80909.


                                  GENERAL ALLEGATIONS

     6.       All above allegations are incorporated herein by reference.

     7.       Debtor filed a petition for bankruptcy relief under Chapter 7 of title 11 of the United
              States Code on August 6, 2018.

     8.       The Trustee is the duly appointed Chapter 7 Trustee for the Debtor’s bankruptcy
              case.

     9.       In the ninety days prior the Debtor’s date of filing, Defendant garnished from the
              Debtor’s wages in the amount of $2,496.94 [SEE EXHIBIT 1; Debtor income
              record].

     10.      Defendant’s collection agency Credit Service Company has turned over $187.05 of
              funds leaving a remaining $2,309.89 outstanding.

     11.      Plaintiff will incur $350.00 in costs to file this complaint to recover preference.


                                 FIRST CLAIM FOR RELIEF

           Recovery of Preferential Transfer Pursuant to Bankruptcy Code §547(b)

     12.      All above allegations are incorporated herein by reference.

     13.      Receipt of the payment is an avoidable preferential transfer due to the fact that the it
              was:

              a. To or for the benefit of the Defendant, who at the time of the Transfer was a
                 creditor of the Debtor;

              b. For or on account antecedent debt owed by the Debtor to the Defendant before
                 such Transfer was made;

              c. Made while the Debtor was insolvent;

              d. Made within ninety (90) days before the date of the filing of the bankruptcy
                 petition; and

              e. And that enabled the Defendant to receive more than it would receive it (i) the
                 case was a case under Chapter 7 of title 11 of the United States Code; (ii) the
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                Transfer had not been made; and (iii) the Defendant received payment of this
                debt to the extent provided by the provision of Title 11 of the United States
                Code.


     WHEREFORE, Plaintiff Robertson B. Cohen, Chapter 7 Trustee, respectfully request the
     court to enter a Judgment in his favor and against Defendant UCHealth – Memorial Health
     Systems in the amount of $2,309.89 pursuant to 11 U.S.C. §547(b) and 11 U.S.C.
     §550(a)(1) and as part of such Judgment award the Plaintiff pre-judgment interest and
     reasonable attorney’s fees and costs and such other and further relief as may be appropriate
     under the circumstances.

     Dated this April 16, 2019.




                                          Respectfully submitted,



                                          ______________________________
                                          Robertson B. Cohen, Chapter 7 Trustee
                                          1720 S. Bellaire St; Ste 205
                                          Denver, CO 80222
                                          (303) 933-4529
                                          Email: trusteecohen@cohenlawyers.com
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